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AO 91 (Rev 8/01) Criminal Complaint

United States District Court

 

 

 

“ SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION
UNITED STATES OF AMERICA United States Courts
V. Southern District of Texas CRIMINAL COMPLAINT
Alma Yaneth Garza-Hernandez PRINCIPAL Mexico FILED Case Number:
February 15, 2022
YOB: 1996 ° M-22-0308 -M

Nathan Ochsner, Clerk of Court

(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about February 14,2022 _—in Hidalgo County, in
the Southern District of Texas defendants(s) did,

(Track Statutory Language of Offense)

knowing or in reckless disregard of the fact Guillermo Lissandro Guerrero-Hernandez, a citizen and national
of El Salvador, and Luis Fernando Garcia-Arciniegas, a citizen and national of Colombia, along with four (4)
other undocumented aliens, for a total of six (6), who had entered the United States in violation of law, did
-knowlingly transport, or move or attempted to transport said aliens in futherance of such violation of law
within the United States, that is, from a location near McAllen, Texas to the point of arrest near McAllen,
Texas,

in violation of Title 8 United States Code, Section(s) 1324(a)(1}(A){ii), 1324(a){1)(A}(v)(l) FELONY
I further state that 1 am a(n) U.S. Border Patrol Agent and that this complaint is based on the

following facts:

On February 14, 2022, at approximately 2:40 p.m., Border Patrol Agents were conducting patrol duties in McAllen,
Texas and apprehended seventeen (17) illegal aliens. During the apprehension, five (5) to six (6) other subjects fled the
area and ran into nearby orange groves. While searching the area, an Agent observed a female, later identified as Alma
Yaneth Garza-Hernandez, hiding up on a tree. The Agent assisted Garza-Hernandez in getting down from the tree and
questioned her as to her citizenship. Garza-Hernandez indicated she was born in Mexico and claimed to have a tourist
visa but not in her possession. Garza-Hernandez further stated she was working harvesting oranges and had left to use
the bathroom. Garza-Hernandez was asked to point in the direction where she was working and pointed away from

- where the field workers were.

SEE ATTACHED
Continued on the attached sheet and made a part of this complaint: [X]Yes [_]No
Complaint authorized by AUSA Colton Turner

ar ok /S/ Cynthia J. Garcia
Submitted by reliable electronic means, sworn to and attested

 

 

 

telephonically per Fed. R. Cr.P.4.1,and probable cause found on: Signature of Complainant ,
Cynthia J. Garcia Border Patrol Agent
Sworn to before me and subscribed in my presence, Printed Name of Complainant
February 15,2022 2:00 p.m. at McAllen, Texas
Date City and State
Nadia S. Medrano _U. S. Magistrate Judge VA

 

 

Name and Title of Judicial Officer Signature of Judicial Officer
 

RE:

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
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Alma Yaneth Garza-Hernandez

Agents proceeded to escort Garza-Hernandez out of the orchards at which time she pointed to a

. vehicle and stated it was hers. Agents then observed one subject open the back door, immediately

exit, and attempt to flee. The subject was apprehended shortly thereafter and determined to be
illegally present in the United States. Agents then found a total of five (5) subjects hiding inside
the same vehicle. All five subjects were interviewed and determined to be illegally present in the
US.

Suspecting an alien smuggling attempt was taking place, agents contacted the foreman for
information. The foreman stated that Garza-Hernandez was not one of the workers and the vehicle ©
was not recognizable. Based on the information, Garza-Hernandez and the six subjects were taken
into custody and transported to the McAllen Border Patrol for further interviews and case
preparation. ©

PRINCIPAL STATEMENT: Alma Yaneth Garza-Hernandez

Alma Yaneth Garza-Hernandez, a citizen and national of Mexico, was read her Miranda rights in
the Spanish language. Garza-Hernandez understood her rights and agreed to provide a sworn
statement. ,

Garza-Hernandez claims she was working in the agricultural fields in McAllen, Texas at the time
of her arrest. Garza-Hernandez stated she left her work area to use the bathroom and got lost on
her way back. Garza-Hernandez said on her way back, Border Patrol was chasing people and she
hid because she got scared.

MATERIAL WITNESS STATEMENT: Guillermo Lissandro Guerrero-Hernandez

Guillermo Lissandro Guerrero-Hernandez, a citizen and national of El Salvador, was read his
Miranda rights in the Spanish language. Guerrero understood his rights and agreed to provide a
sworn statement.

Guerrero stated he did not pay anyone to cross the river and he intended to live in Los Angeles.
Guerrero stated he swam across the river along with one other person. Guerrero added he met
with other people who had crossed the river and were hiding in the orange groves. Guerrero
stated a female wearing a blue shirt told them to get into the car. Guerrero added that they he got
in the car because they were going to take them to McAllen. Guerrero mentioned that after seeing
immigration, he attempted to run away, but was unsuccessful and was apprehended shortly after.

Guerrero positively identified Alma Garza-Hernandez, through a photo lineup, as the female
wearing the blue shirt and who told them to get in the car.

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
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RE: Alma Yaneth Garza-Hernandez

MATERIAL WITNESS STATEMENT: Luis Fernando Garcia-Arciniegas

Luis Fernando Garcia-Arciniegas, a citizen and national of Colombia, was read his Miranda rights
in the Spanish language. Garcia understood his rights and agreed to provide a sworn statement.

Garcia stated he paid $1,000 USD to be smuggled into the United States. Garcia claims he waded
across the Rio Grande River with approximately twenty (20) other people and were soon
separated. Garcia said after crossing the river, he entered an orange grove and saw a female
wearing a blue sweater driving a truck. Garcia told Agents he asked the female if she can help
them get into contact with immigration officers. Garcia added the female told them to get into her
truck while she called immigration. Garcia said once immigration officers arrived, one person in
the truck ran and they were all apprehended.

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